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                                  4                            IN THE UNITED STATES DISTRICT COURT

                                  5                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  7      MICRON TECHNOLOGY, INC.,                        Case No. 17-cv-06932-MMC
                                  8                    Plaintiff,
                                                                                         ORDER RE: STIPULATION OF
                                  9              v.                                      DISMISSAL WITH PREJUDICE AS TO
                                                                                         UNITED MICROELECTRONICS
                                  10     UNITED MICROELECTRONICS                         CORPORATION; DIRECTIONS TO
                                         CORPORATION, et al.,                            PARTIES
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is a "Stipulation for Dismissal With Prejudice as to United

                                  14   Microelectronics Corporation Only," jointly filed December 6, 2021, by Micron

                                  15   Technology, Inc. ("Micron") and United Microelectronics Corporation ("UMC").

                                  16          In said filing, Micron and UMC state they have agreed to dismissal of the above-

                                  17   titled action with prejudice as to UMC only, in light of a Settlement Agreement, and

                                  18   request that the Court "retain jurisdiction over UMC to enforce the Settlement Agreement

                                  19   and this Stipulation between Micron and UMC." (See Stipulation at 1:8-9.) Micron and

                                  20   UMC have not, however, submitted a copy of the Settlement Agreement and, in the

                                  21   absence thereof, the Court declines to retain jurisdiction for the purpose proposed.

                                  22          Accordingly, Micron and UMC are hereby DIRECTED to submit, no later than

                                  23   December 17, 2021, a copy of the Settlement Agreement, or, in the alternative, a revised

                                  24   stipulation without a request for the retention of jurisdiction.

                                  25          IT IS SO ORDERED.

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                                  27   Dated: December 6, 2021
                                                                                                 MAXINE M. CHESNEY
                                  28                                                             United States District Judge
